                                                                               GRANTED.


                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   Criminal No. 2:11-00002-13
                                                 )   Judge Trauger
EMILY BRADLEY                                    )

                                            MOTION

       Comes now the Defendant, through undersigned counsel, and respectfully moves the Court
to permit the Defendant to be transported directly from the Grayson County Jail where she is
presently incarcerated, to the Synergy Center in Memphis, Tennessee for drug treatment. For
grounds, the Defendant would state that at the conclusion of the probation hearing in this case on
April 10, 2013, the Defendant was found to be in violation of probation and ordered to serve 90 days
in the Grayson County Jail in Leitchfield, Kentucky, followed by a one year program in a drug
treatment center. Arrangements have been made for Ms. Bradley to be admitted to the Synergy
Center on July 9, 2013. The Defendant respectfully submits that it would be in the best interest of
the Defendant if should were able to be transported directly from the Grayson County Jail in
Kentucky to the Synergy Center in Memphis, Tennessee. Further, the Defendant respectfully
requests that the Defendant’s mother be permitted to transport the Defendant to the Synergy Center
in Memphis, Tennessee from the Grayson County Jail in Leitchfield, Kentucky. Counsel for the
Defendant has been advised by Eugene Colbert, Supervisor at Synergy Center, that there would be
a bed available for the Defendant on July 9, 2013. Counsel for the Defendant has been advised by
Assistant United States Attorney J. Alex Little that the government does not oppose this motion.
                                                     Respectfully submitted,

                                                      /s/ Roger N. “Bo” Taylor
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